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                              UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                   MARSHALL DIVISION


    APPLICA CONSUMER PRODUCTS, INC.,

                                 Plaintiff,
                                                         Civil Action No. 2:07-cv-00073
    vs.
                                                         JURY TRIAL REQUESTED
    DOSKOCIL MANUFACTURING CO., INC.
    ET AL.,

                                 Defendants.


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                      ORDER GRANTING JOINT MOTION TO DISMISS

           The Court has considered the Joint Motion to Dismiss, and has decided to grant the

    motion. It is, therefore, ORDERED that:

           1.     The entire action hereby is dismissed with prejudice;

           2.     Each party shall bear its own costs of suit and attorneys' fees; and

           3.     The Court shall retain jurisdiction over the parties for purposes of enforcing the

    Confidential Settlement Agreement dated January 30, 2012, incorporated herein by this

    reference.
          SIGNED this 3rd day of January, 2012.
          SIGNED this 8th day of March, 2012.




                                                      ____________________________________
                                                      ROY S. PAYNE
                                                      UNITED STATES MAGISTRATE JUDGE
